                                                                                   Form 1                                                                               Page: 1

                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:         22-21253 RDB                                                             Trustee: (360120)           Patricia E. Hamilton
Case Name:           SOCIN, MICHEAL J                                                         Filed (f) or Converted (c): 12/21/22 (f)
                                                                                              §341(a) Meeting Date:       01/18/23
Period Ending:       03/20/23                                                                 Claims Bar Date:            06/22/23

                                1                                          2                           3                        4                  5                    6

                       Asset Description                               Petition/             Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                        Values             Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                Remaining Assets

 1       14175 W. 143rd Street, Olathe, KS 66062                         648,100.00                             0.00                                    0.00                    FA

 2       Items purchased at Nebraska Furniture Mart                        2,000.00                             0.00                                    0.00                    FA

 3       Household goods                                                   8,000.00                             0.00                                    0.00                    FA

 4       Clothing                                                          1,000.00                             0.00                                    0.00                    FA

 5       Wedding ring, watch, miscellaneous items                          1,000.00                             0.00                                    0.00                    FA

 6       Cash                                                                   20.00                           0.00                                    0.00                    FA
 7       Checking: Mazuma Credit Union                                         100.00                       2,027.06                                    0.00             2,027.06

 8       Savings: Mazuma Credit Union                                           20.00                           0.00                                    0.00                    FA

 9       Thrift Savings Plan: Social Security Admin                        Unknown                              0.00                                    0.00                    FA

10       Claim against Department of Veterans Affairs                      Unknown                              0.00                                    0.00                    FA

11       Pre-petition wages paid post-petition (u)                               0.00                        504.25                                     0.00                 504.25

12       TAX REFUNDS - 2020, 2021 & 2022 (u)                                     0.00                       6,126.00                                    0.00             6,126.00

12       Assets           Totals (Excluding unknown values)            $660,240.00                         $8,657.31                                   $0.00            $8,657.31


     Major Activities Affecting Case Closing:
              Trustee awaiting 2020 through 2022 tax refunds, reviewing bank statements and paystub.




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                              1                                        2                       3                          4                  5                    6

                     Asset Description                              Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
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                                                                     Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                Remaining Assets

    Initial Projected Date Of Final Report (TFR): December 31, 2023                 Current Projected Date Of Final Report (TFR): December 31, 2023




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